Case 6:22-cv-00885-RRS-CBW Document 89 Filed 05/18/22 Page 1 of 6 PageID #: 3759



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

  ____________________________________
                                        )
  STATE OF ARIZONA, et al.,             )
                                        )
                            Plaintiffs, )
                                        )
              v.                        )   Civil Action No. 6:22-CV-00885-RRS-CBW
                                        )
  CENTERS FOR DISEASE CONTROL           )
  & PREVENTION, et al.,                 )
                                        )
                            Defendants. )
  _____________________________________)


              DEFENDANTS’ WEEKLY REPORTING FOR MAY 18, 2022
Case 6:22-cv-00885-RRS-CBW Document 89 Filed 05/18/22 Page 2 of 6 PageID #: 3760



            Pursuant to the Court’s April 27, 2022 temporary restraining order, ECF No. 37, Defendants

  herein provide, subject to the caveats discussed below, data showing, for the period of May 10, 2022

  to May 16, 2022, (1) the number of single adults processed under Title 42 and Title 8 by country, (2)

  the number of recidivist border crossers for whom the U.S. Customs and Border Protection (“CBP”),

  Department of Homeland Security (“DHS”) has applied expedited removal, (3) the number of

  migrants that have been excepted from Title 42 under the NGO-supported humanitarian exception

  process, and (4) any material changes to policy regarding DHS’s application of the Title 42 process.

               1. The number of single adults processed under Title 42 and Title 8 by country.

            Below is the data pulled on May 18 for single adult encounters by CBP at the Southwest land

  border for the period of May 10, 2022 to May 16, 2022. The data reflects CBP processing dispositions,

  which may take 24 hours, or longer, for initial vetting. Final verification of data takes place at the end

  of every month. Because this was pulled before the end of the month, it is preliminary and subject to

  change.

                                                             Title    Title
   Component                    Citizenship                                    Total
                                                              42       8
                    ARMENIA                                       0      37        37
                    AUSTRALIA                                     0        1        1
                    AZERBAIJAN                                    0        1        1
                    BELARUS                                       0      13        13
                    BELIZE                                        0        2        2
                    BOLIVIA                                       0        2        2
                    BRAZIL                                        0        2        2
                    CHINA (MAINLAND)                              0        4        4
       OFO
                    COLOMBIA                                      0        4        4
                    CUBA                                          1      59        60
                    DOMINICAN REPUBLIC                            0        2        2
                    ECUADOR                                       0        1        1
                    EL SALVADOR                                   0      29        29
                    GEORGIA                                       0        3        3
                    GERMANY                                       1        0        1
                    GUATEMALA                                     4      23        27
Case 6:22-cv-00885-RRS-CBW Document 89 Filed 05/18/22 Page 3 of 6 PageID #: 3761




               HAITI                            1     250     251
               HONDURAS                         4      82      86
               INDIA                            0       1       1
               JAMAICA                          0       7       7
               JORDAN                           1       0       1
               KAZAKHSTAN                       0       1       1
               KYRGYZSTAN                       0       2       2
               MEXICO                         407     553     960
               MOLDOVA                          0       2       2
               NICARAGUA                        1       4       5
               PERU                             0       1       1
               ROMANIA                          0       7       7
               RUSSIA                          11     176     187
               SOMALIA                          1       0       1
               SPAIN                            1       1       2
               TAJIKISTAN                       0       1       1
               THAILAND                         0       1       1
               TURKEY                           3       0       3
               UKRAINE                          7       8      15
               UNKNOWN                          1       3       4
               UZBEKISTAN                       0       1       1
               VENEZUELA                        1       2       3
   OFO Total                                  445   1,286   1,731
               AFGHANISTAN                      0       6       6
               ALBANIA                          0       4       4
               ANGOLA                           0      21      21
               ARGENTINA                        0       8       8
               ARMENIA                          0       5       5
               AZERBAIJAN                       0       4       4
               BANGLADESH                       0       2       2
               BELARUS                          0       3       3
     USBP
               BELIZE                           0       1       1
               BENIN                            0       1       1
               BOLIVIA                          0      17      17
               BRAZIL                          14     248     262
               BURKINA FASO                     0       1       1
               CAMEROON                         0      13      13
               CAPE VERDE                       0       1       1
               CHILE                            0       2       2



                                       2
Case 6:22-cv-00885-RRS-CBW Document 89 Filed 05/18/22 Page 4 of 6 PageID #: 3762



              CHINA, PEOPLES REPUBLIC
              OF                                 0      37     37
              COLOMBIA                           2   2,088 2,090
              CONGO                              0      10     10
              COSTA RICA                         0       8      8
              CUBA                             363   4,330 4,693
              DEM REP OF THE CONGO               0       1      1
              DOMINICAN REPUBLIC                 0      83     83
              ECUADOR                            7     266    273
              EGYPT                              0       2      2
              EL SALVADOR                      969      78 1,047
              ERITREA                            0      12     12
              ETHIOPIA                           0       9      9
              GEORGIA                            0     182    182
              GHANA                              0      20     20
              GUADELOUPE                         1       0      1
              GUATEMALA                      2,600     134 2,734
              GUINEA                             0       6      6
              GUINEA-BISSAU                      0       2      2
              HAITI                            318   1,048 1,366
              HONDURAS                       1,770     203 1,973
              INDIA                              0     392    392
              IRAN                               0       2      2
              IRAQ                               0       1      1
              ISRAEL                             0       1      1
              ITALY                              0       1      1
              IVORY COAST                        0       1      1
              JAMAICA                            0     115    115
              KOSOVO                             0       1      1
              KYRGYZSTAN                         0       4      4
              LEBANON                            0       2      2
              MALI                               0       2      2
              MAURITANIA                         0       6      6
              MEXICO                        13,416   1,246 14,662
              MOLDOVA                            0       1      1
              MOROCCO                            0       1      1
              NEPAL                              0      35     35
              NICARAGUA                        204   3,413 3,617
              NIGERIA                            0      12     12
              PAKISTAN                           0       9      9


                                       3
Case 6:22-cv-00885-RRS-CBW Document 89 Filed 05/18/22 Page 5 of 6 PageID #: 3763




                  PANAMA                                        0      1      1
                  PARAGUAY                                      0      1      1
                  PERU                                          0    927    927
                  PHILIPPINES                                   0      2      2
                  ROMANIA                                       0     32     32
                  RUSSIA                                        0     78     78
                  SENEGAL                                       0     25     25
                  SIERRA LEONE                                  0      2      2
                  SOMALIA                                       1     33     34
                  SRI LANKA                                     0      3      3
                  ST. LUCIA                                     0      1      1
                  SUDAN                                         0      2      2
                  TAJIKISTAN                                    1      0      1
                  TOGO                                          0      2      2
                  TRINIDAD AND TOBAGO                           0      1      1
                  TURKEY                                        0    453    453
                  UKRAINE                                       0      8      8
                  URUGUAY                                       0      3      3
                  UZBEKISTAN                                    2     24     26
                  VENEZUELA                                     1    642    643
   USBP Total                                              19,669 16,341 36,010
   CBP Total                                               20,114 17,627 37,741


         2. The number of recidivist border crossers for whom DHS has applied expedited
            removal.

         From May 10, 2022 to May 16, 2022, U.S. Border Patrol (“USBP”) applied expedited removal,

  8 U.S.C. § 1225(b)(1), to 802 single adults who attempted to unlawfully enter the United States between

  a port of entry and who had previously been encountered by USBP and processed under Title 42 or

  Title 8 at least one time since March 20, 2020.

         3. The number of migrants that have been excepted from Title 42 under the NGO-
            supported humanitarian exception process.

         From May 10, 2022 through May 16, 2022, CBP’s Office of Field Operations processed 1,247

  Title 42 exceptions at the 6 ports of entry that process the above-referenced NGO-supported

  humanitarian exception process. The below shows the data broken down by port.


                                                    4
Case 6:22-cv-00885-RRS-CBW Document 89 Filed 05/18/22 Page 6 of 6 PageID #: 3764



                Hidalgo, TX: 463
                Laredo, TX: 0
                Eagle Pass, TX: 0
                Paso del Norte, El Paso, TX: 210
                Nogales, AZ: 90
                San Ysidro, CA: 484

         4. Any material changes to policy regarding DHS’s application of the Title 42
            process.

         DHS reports that it has made no material changes to its policy on application of the Title 42

  process beyond compliance with the Court’s temporary restraining order.


  Date: May 18, 2022                                    Respectfully submitted,
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                                                        U.S. Department of Justice, Civil Division

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